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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ____________________________________
 In the Matter of S.S. and A.S.,     )
                                     )
 DORAN ANTHONY SATCHEL               )
                                     )
                       Petitioner,   )                       No. 1:25-cv-01309
                                     )
 vs.                                 )
                                     )
 RENE ALEXIS KIZZI SATCHEL           )
                                     )
                       Respondent.   )
 ____________________________________)

The Convention on the Civil Aspects of International Child Abduction, done at The Hague on
  October 25, 1980; International Child Abduction Remedies Act, 22 U.S.C. 9001 et seq.

       Before the Court is the Verified Petition for the Return of the Children to Canada (the

“Petition”) [ECF No. 1]. This Order addresses the Petitioner’s Motion to Expedite Proceedings and

Issuance of Show Cause Order, including Temporary Restraining Order, Preliminary Injunction, and

Expedited Scheduling Order. Upon considering the Petition for Return, the Motion to Expedite

and for an Issuance of an Immediate Show Cause Order, the Hague Convention, and ICARA,

it is this ___day
           11th of March, 2025:

       ORDERED that Respondent, Rene Alexis Kizzi Satchel, or her attorneys, show

cause before this Court, at the United States Courthouse, United States District Court for the

Eastern District of New York, located at 225 Cadman Plaza East, Brooklyn, New York 11201
       17th      March          3                  afternoon
on the __ day of _____, 2025 at ___ o’clock in the ____  thereof, or as soon thereafter as

counsel can be heard, why an order should not be made and entered granting the Petitioner

the following relief:

      a.   Pursuant to Article 11 of the Hague Convention on the Civil Aspects of
           International Child Abduction, setting an expedited hearing on the Petition and
           communicating that hearing date and time to Petitioner so that Petitioner may
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           provide notice of these proceedings and the hearing to Respondent pursuant to
           22 U.S.C. § 9003(c); and

      b.   Issue an order following the hearing, directing that S.S. and A.S. (the
           “Children”) shall be returned to Petitioner, pursuant to Articles 1(a) and 12 of
           the Hague Convention on the Civil Aspects of International Child Abduction
           and Section 4(b) of the International Child Abduction Remedies Act
           (“ICARA”), 22 U.S.C. § 9003(b); and

      c.   Issue an immediate order prohibiting the removal of the Children from the
           jurisdiction of this Court, pending a hearing on the merits of the Verified
           Petition; and

      d.   Issue an immediate order that Respondent surrender any and all of her
           passports and all of the passports of the Children; and

      e.   Issue an order directing Respondent to pay Petitioner for all costs and fees
           incurred to date by reason of the Children’s wrongful removal and retention
           pursuant to 22 U.S.C. § 9007(b)(3) and the Hague Convention, Article 26; and

      f.   Any such further relief as justice and its cause may require; and it is further

        ORDERED that pending the hearing and determination of this application and the entry

of an Order thereon, the Respondent, or any person acting in concert or participation with

Respondent, is prohibited from removing the Children, S.S. and A.S., born in 2014 and 2017

respectively, from the state of New York; and it is further

        ORDERED that pending the hearing and determination of this application and the entry

of an Order thereon, Respondent shall immediately deposit with the Clerk of the Court any and

all passports or other travel documents in the names of S.S. and A.S., which shall be held for

safekeeping by the Court; and it is further

        ORDERED that personal service of a copy of this Order, together with the copies of

the papers upon which it was brought on Respondent before the __ day of March, 2025, shall
                                                              13th

be deemed sufficient.
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      IT IS SO ORDERED.

      Dated this 11th
                 ___ day of ______,
                            March 2025



                                                  ______________________
                                                  Hon. Brian M. Cogan
                                                  United States District Judge
